          Case 1:15-cv-01923-ER Document 82 Filed 11/05/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MINNIE ROSE LLC,

                           Plaintiff,

            v.                                                     ORDER

ANNA YU a/k/a ANNA YUE, ELVA GREEN                            15 Civ. 1923 (ER)
CLOTHING COMPANY LTD. a/k/a ELVA
GREEN CLOTHING (HK) CO. LTD., and
JOHN DOES 1-10,

                           Defendants.


ELVA GREEN CLOTHING (HK) CO.
LIMITED, A/K/A ELVA GREEN CLOTHING
COMPANY LTD. (“ELVA GREEN”),

                        Third-Party Plaintiff,

            v.

LISA SHALLER GOLDBERG and RICHARD
ROES 1-10,

                        Third-Party Defendants.



RAMOS, D.J.

       On March 13, 2015, Minnie Rose LLC (“Minnie Rose”) brought this action against Anna

Yu, Elva Green Clothing (HK) Co. Ltd., and John Does 1-10 for fraudulent misrepresentation

and unjust enrichment. Doc. 1. On May 19, 2016, Elva Green filed a third-party complaint

against Lisa Shaller Goldberg and Richard Roes 1-10. Doc. 32. On August 10, 2018, the Court

granted Minnie Rose and Shaller Goldberg’s counsel’s motion to withdraw and stayed the case

for sixty days for them to retain new counsel of record. Doc. 61. On September 24, 2018, new
           Case 1:15-cv-01923-ER Document 82 Filed 11/05/20 Page 2 of 2




counsel filed a notice of appearance on behalf of Minnie Rose and Shaller Goldberg. Doc. 63.

On July 3, August 8, and August 22, 2019, Minnie Rose and Shaller Goldberg again retained new

counsel. Docs. 72, 73, 77, 78. Since then, the parties have not provided the Court with an

update on the status of this case.

       The parties are therefore directed to submit a joint status report by November 19, 2020

and every three months thereafter. Failure to comply with the Court’s order could result in

sanctions, including dismissal for failure to prosecute. Fed. R. Civ. P. 41(b).

       It is SO ORDERED.

Dated: November 5, 2020
       New York, New York

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                                                             Edgardo Ramos, U.S.D.J.




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